Case No. 1:13-cr-00392-CMA Document 1 filed 09/23/13 USDC Colorado pg 1 of 17




                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLORADO

Criminal Case No. 13-cr-00392-CMA

United States of America,

      Plaintiff,

v.

1. George Thomas Brokaw,
2. John J. Pawelski,
3. Mimi M. Vigil, and
4. Clara M. Mueller,

      Defendants.


                              INDICTMENT
                         Count 1: 18 U.S.C. § 286
                       Counts 2-13: 18 U.S.C. § 287
                        Count 14: 18 U.S.C. § 371
                     Counts 15-18: 26 U.S.C. § 7212(a)
_____________________________________________________________________

      The Grand Jury charges that:

                                       COUNT 1

                    George Thomas Brokaw, John J. Pawelski,
                         Mimi M. Vigil, and Clara M. Mueller
           (18 U.S.C. § 286 – Conspiracy to File False Claims for Refund)

                                    A. Introduction

      1.      Defendants George Thomas Brokaw, John J. Pawelski, Mimi M. Vigil, and

Clara M. Mueller, during the time periods charged in this Indictment, were all residents

of Colorado Springs, Colorado, within the District of Colorado.




                                            1
Case No. 1:13-cr-00392-CMA Document 1 filed 09/23/13 USDC Colorado pg 2 of 17




       2.     The Internal Revenue Service (“IRS”) was and is an agency of the United

States Department of the Treasury responsible for administering and enforcing the tax

laws of the United States of America.

       3.     IRS Forms 1099 are used to report, among other things, interest income

and associated withholding to the IRS. “Original Issue Discount” (OID) income is a form

of interest income typically realized on debt instruments that were issued at a discount

or purchased for less than the ultimate redemption value of the debt instrument.

                                   B. The Conspiracy

       4.     Beginning in or about October 2008, and continuing until in or about May

of 2009, the exact dates being unknown to the Grand Jury, in the State and District of

Colorado, defendants George Thomas Brokaw, John J. Pawelski, Mimi M. Vigil, and

Clara M. Mueller, and others known and unknown to the Grand Jury, agreed, combined,

and conspired with each other to defraud the United States by attempting to obtain and

aiding in attempts to obtain the payment and allowance of false, fictitious and fraudulent

claims on behalf of themselves and others by submitting false claims for income tax

refund to the United States Department of Treasury through the Internal Revenue

Service.

                       C. Manner and Means of the Conspiracy

       5.     The conspiracy was accomplished, in part, through the following manner

and means:

       6.     Defendants George Thomas Brokaw, John J. Pawelski, Mimi M. Vigil, and

Clara M. Mueller, filed or caused to be filed false, fictitious and fraudulent Form 1040 tax



                                             2
Case No. 1:13-cr-00392-CMA Document 1 filed 09/23/13 USDC Colorado pg 3 of 17




returns containing false claims for refunds in their names, including the following

returns:

     Defendant                    Date Filed               Tax Year         Refund Claimed
      Pawelski                     10/23/08                  2004              $40,598.92
      Pawelski                     10/23/08                  2005            $5,797,182.70
      Pawelski                     10/23/08                  2006            $9,189,983.58
      Pawelski                     10/23/08                  2007            $7,933,781.70
           Vigil                   12/10/08                  2005              $372,169
       Mueller                      1/6/09                   2005              $382,530
       Brokaw                       5/1/09                   2003               $68,063
       Brokaw                       5/1/09                   2004               $55,185
       Brokaw                       5/1/09                   2005               $48,131
       Brokaw                       5/1/09                   2006               $71,858
       Brokaw                       5/1/09                   2007               $52,374
       Brokaw                       5/1/09                   2008               $62,607


       7.          In connection with these false tax returns, Brokaw, Pawelski, Vigil, and

Mueller submitted or caused to be submitted false Forms 1099-OID. These Forms

1099-OID falsely reported that financial institutions, lenders, or other entities had

withheld and paid over to the IRS interest income from accounts which did not generate

such interest income and from which no such withholdings were made, including

mortgages, credit card accounts, and checking accounts. The returns claimed false

refunds based on these false claims of withholdings.

       8.          Various defendants worked together, and/or with unindicted co-conspirator

C.M., in the filing of these false tax returns. For example:


                                                 3
Case No. 1:13-cr-00392-CMA Document 1 filed 09/23/13 USDC Colorado pg 4 of 17




              A. On or about February 25, 2009, Brokaw submitted to the IRS false

hand-written Forms 1099-OID claiming false OID income for the years 2003-2008.

Mueller mailed these forms to the IRS for Brokaw.

              B. On or about May 1, 2009, Brokaw submitted to the IRS false Form

1040 tax returns and Forms 1099-OID claiming false OID income for the years 2003-

2008. Vigil signed an “Affidavit of Notary Presentment” certifying that Brokaw appeared

before her on May 1, 2009, with the false tax returns and Forms 1099-OID for the years

2003-2008, and that she mailed these false claims to the IRS for Brokaw.

              C. On or about May 15, 2009, Vigil submitted to the IRS a 2005 Form

1040 tax return that claimed false 1099-OID income. Mueller certified that she mailed to

the IRS Vigil’s 2005 Form 1040 tax return. Mueller also notarized Vigil’s signature on a

document entitled “Power of Attorney” that was submitted with Vigil’s 2005 Form 1040

tax return.

              D. On March 24, 2010, Brokaw hand-delivered to the IRS a number of

documents, including Brokaw’s 2007 Joint Form 1040 return that claimed false 1099

OID income. Pawelski signed a Certification of Delivery as a witness to the fact that

Brokaw hand-delivered these documents to the IRS, and Vigil signed the same

Certification of Delivery as a notary verifying that Brokaw hand-delivered these

documents to the IRS.

       9.     Brokaw, Pawelski, Vigil, Mueller, and C.M. and others communicated

between themselves via email about using these Form 1099-OIDs to avoid their tax




                                            4
Case No. 1:13-cr-00392-CMA Document 1 filed 09/23/13 USDC Colorado pg 5 of 17




responsibilities and to obtain fraudulent tax refunds.

       All in violation of Title 18, United States Code, Section 286.

                                      COUNTS 2 – 7

                               George Thomas Brokaw
                      (18 U.S.C. § 287 – False Claim for Refund)

       10.    The Grand Jury realleges and incorporates paragraphs 1-3 herein.

       11.    On or about May 1, 2009, in the State and District of Colorado, Defendant

 George Thomas Brokaw, made and presented to the United States claims for payment

of fraudulent tax refunds in the amounts enumerated for each count listed below with

the knowledge that such claims were false, fictitious, and fraudulent. Brokaw made the

false claims by mailing and causing to be mailed joint U.S. Individual Income Tax

Return, Forms 1040 with attached fictitious Forms 1099-OID, for the years and amounts

listed below to the United States Department of the Treasury through the Internal

Revenue Service.

    Count        Date Filed         Tax Year             Refund Claimed
      2            05/01/09            2003                 $68,063
      3            05/01/09            2004                 $55,185
      4            05/01/09            2005                 $48,131
      5            05/01/09            2006                 $71,858
      6            05/01/09            2007                 $52,374
      7            05/01/09            2008                 $62,607


       All in violation of Title 18, United States Code, Section 287.




                                              5
Case No. 1:13-cr-00392-CMA Document 1 filed 09/23/13 USDC Colorado pg 6 of 17




                                       COUNTS 8-11

                                    John J. Pawelski
                       (18 U.S.C. § 287 – False Claim for Refund)

        12.    The Grand Jury realleges and incorporates paragraphs 1-3 herein.

        13.    On or about October 23, 2008, in the State and District of Colorado,

Defendant John J. Pawelski, made and presented to the United States claims for

payment of fraudulent tax refunds in the amounts enumerated for each count listed

below with the knowledge that such claims were false, fictitious, and fraudulent.

Pawelski made the false claims by mailing and causing to be mailed U.S. Individual

Income Tax Return, Forms 1040, for the years and amounts listed below to the United

States Department of the Treasury through the Internal Revenue Service. Between

October 15, 2008, and April 15, 2009, in support of these false claims, Brokaw mailed

and caused to be mailed separately fictitious Forms 1099-OID for years 2004, 2005 and

2006.

   Count        Date Filed        Tax Year          Refund Claimed
        8        10/23/08           2004               $40,598.92
        9        10/23/08           2005             $5,797,182.70
     10          10/23/08           2006             $9,189,983.58
     11          10/23/08           2007             $7,933,781.70


        All in violation of Title 18, United States Code, Section 287.




                                              6
Case No. 1:13-cr-00392-CMA Document 1 filed 09/23/13 USDC Colorado pg 7 of 17




                                       COUNT 12

                                     Mimi M. Vigil
                      (18 U.S.C. § 287 – False Claim for Refund)

      14.    The Grand Jury realleges and incorporates paragraphs 1-3 herein.

      15.    On or about December 10, 2008, in the State and District of Colorado,

Defendant Mimi M. Vigil, made and presented to the United States a claim for payment

of a fraudulent tax refund in the amount of $372,169 with the knowledge that such claim

was false, fictitious, and fraudulent. Vigil made the false claim by mailing and causing

to be mailed a 2005 U.S. Individual Income Tax Return, Form 1040, to the United

States Department of the Treasury through the Internal Revenue Service.

      All in violation of Title 18, United States Code, Section 287.

                                       COUNT 13

                                   Clara M. Mueller
                      (18 U.S.C. § 287 – False Claim for Refund)

      16.    The Grand Jury realleges and incorporates paragraphs 1-3 herein.

      17.    On or about January 6, 2009, in the State and District of Colorado,

Defendant Clara M. Mueller, made and presented to the United States a claim for

payment of a fraudulent tax refund in the amount of $382,530, with the knowledge that

such claim was false, fictitious, and fraudulent. Mueller made the false claim by mailing

and causing to be mailed a 2005 U.S. Individual Income Tax Return, Form 1040, for the

year 2005, to the United States Department of the Treasury through the Internal

Revenue Service. On November 11, 2008, in support of this false claim, Mueller mailed




                                            7
Case No. 1:13-cr-00392-CMA Document 1 filed 09/23/13 USDC Colorado pg 8 of 17




and caused to be mailed separately a fictitious Form 1099-OID.

       All in violation of Title 18, United States Code, Section 287.

                                           COUNT 14

                      George Thomas Brokaw, John J. Pawelski,
                           Mimi M. Vigil, and Clara M. Mueller
                            (18 U.S.C. § 371 – Conspiracy to
                   Corruptly Endeavor to Obstruct or Impede the Due
                     Administration of the Internal Revenue Laws)

                                      A. The Conspiracy

       18.     The Grand Jury realleges and incorporates paragraphs 1-2 herein.

       19.     From on or about sometime in March 2008, and continuing through on or

about sometime in April 2012, the exact dates being unknown to the Grand Jury, in the

State and District of Colorado, Defendants George Thomas Brokaw, John J. Pawelski,

Mimi M. Vigil, and Clara M. Mueller did unlawfully, voluntarily, intentionally, knowingly

and willfully conspire, combine, confederate, and agree together with each other and

other individuals both known and unknown to the Grand Jury to corruptly endeavor to

obstruct and impede the due administration of the Internal Revenue laws by attempting

to thwart the legitimate collection of taxes owed to the IRS by them and others and to

reduce their tax liability and the tax liability of others to the IRS, all in violation of Title

26, United States Code, Section 7212(a).

                         B. Manner and Means of the Conspiracy

       20.     The conspiracy was accomplished, in part, through the following manner

and means:

       21.     Defendants George Thomas Brokaw, John J. Pawelski,



                                                 8
Case No. 1:13-cr-00392-CMA Document 1 filed 09/23/13 USDC Colorado pg 9 of 17




Mimi M. Vigil, and Clara M. Mueller submitted and caused to be filed or submitted to the

IRS a variety of false, fraudulent, or illegitimate documents which purported to constitute

payments of taxes owed to the IRS. These documents included “Private Registered

Bonds for Setoff,” “Private Registered Indemnity Bonds,” “Registered Private Offset and

Discharge Bonds,” and “Registered Bonded Promissory Notes.” The defendants also

used other similar documents for this purpose, including IRS documents on which they

added handwritten text such as “money order” or “accepted for value,” as well as

purported electronic funds transfer (EFT) instruments drawn on closed bank accounts.

       22.     Defendants George Thomas Brokaw, John J. Pawelski,

Mimi M. Vigil, and Clara M. Mueller filed, submitted, and caused to be filed or submitted

a variety of false and fraudulent liens or other documents which falsely claimed that IRS

employees, who were engaged in legitimate tax collection efforts against one or more of

the defendants, owed one or more of the defendants amounts of money ranging from

tens of millions of dollars to billions of dollars.

                              C. Overt Acts of the Conspiracy

       23.     In furtherance of the conspiracy, defendants Brokaw, Pawelski, Vigil and

Mueller acted interdependently and committed one or more overt acts, including but not

limited to the following:

       24.     On or about March 25, 2008, in an attempt to thwart legitimate tax

collection attempts, Pawelski submitted or caused to be submitted to the IRS a packet

of documents, including a 2004 U.S. Nonresident Alien Income Tax Return, along with

copies of notices of federal tax liens filed against him on which he had hand-written



                                                9
Case No. 1:13-cr-00392-CMA Document 1 filed 09/23/13 USDC Colorado pg 10 of 17




 “accepted for value.” Pawelski also claimed that he earned no income on this tax return.

 Vigil certified that she mailed this packet of documents to the IRS on March 25, 2008.

        25.    On or about April 1, 2009, in an attempt to reduce his tax liability, Brokaw

 signed and submitted or caused to be submitted to the Department of the Treasury a

 document entitled “Private Registered Bond for Setoff,” dated March 12, 2009, payable

 to the Department of Treasury, in the amount of $100 Billion. Pawelski signed this

 document as a surety and Mueller signed as a witness. Vigil certified that she mailed

 this document, among others, to Timothy Geithner, Secretary of the Treasury, for

 Brokaw.

        26.    On or about April 1, 2009, in an attempt to reduce his tax liability, Pawelski

 signed and submitted or caused to be submitted to the Department of the Treasury a

 document entitled “Private Registered Bond for Setoff,” dated March 12, 2009, payable

 to the Department of Treasury, in the amount of $100 Billion. Brokaw signed this

 document as a surety. Vigil certified that she mailed this document, among others, to

 Timothy Geithner, Secretary of the Treasury, for Pawelski.

        27.    On or about April 10, 2009, in an attempt to reduce her tax liability, Vigil

 signed and submitted or caused to be submitted to the Department of the Treasury a

 document entitled “Private Registered Bond for Setoff,” dated April 2, 2009, payable to

 the Department of Treasury, in the amount of $100 Billion. Brokaw and Pawelski signed

 this document as sureties. Mueller certified that she mailed this document, among

 others, to Timothy Geithner, Secretary of the Treasury, for Vigil.




                                              10
Case No. 1:13-cr-00392-CMA Document 1 filed 09/23/13 USDC Colorado pg 11 of 17




        28.    On or about April 20, 2009, in an attempt to thwart legitimate tax collection

 attempts and to reduce her tax liability, Vigil signed and submitted or caused to be

 submitted to Timothy Geithner, Secretary of the Treasury, a document entitled “Private

 Registered Indemnity Bond,” in the amount of $300 Million. Brokaw and Pawelski

 signed this document as sureties and Mueller certified mailing this document to

 Geithner for Vigil.

        29.    On or about June 2, 2009, in an attempt to thwart legitimate tax collection

 attempts and to reduce her tax liability, Vigil signed and submitted or caused to be

 submitted to Timothy Geithner, Secretary of the Treasury, a document entitled

 “Registered Private Offset and Discharge Bond” in the amount of $300 Million. Brokaw

 and Pawelski signed this document as sureties and Mueller certified mailing this

 document to Geithner for Vigil.

        30.    On or about June 2, 2009, in an attempt to thwart legitimate tax collection

 attempts and to reduce her tax liability, Vigil signed and submitted or caused to be

 submitted to Eric Thorson, United States Treasury, Inspector General, a document

 entitled “Private Registered Bond for Setoff,” dated April 2, 2009, in the amount of $100

 Billion. Brokaw and Pawelski signed this document as sureties and Mueller certified

 mailing this document, and others, to Thorson for Vigil.

        31.    On or about November 16, 2009, in order to thwart legitimate tax

 collection attempts and to reduce the tax liability of W.R., Brokaw and Pawelski signed

 as sureties on a “Private Registered Bond for Setoff” in the amount of $100 Billion




                                             11
Case No. 1:13-cr-00392-CMA Document 1 filed 09/23/13 USDC Colorado pg 12 of 17




 submitted to the Department of the Treasury by W.R. in purported settlement of the tax

 debt of W.R.

        32.     On or about December 2, 2009, in an attempt to thwart legitimate tax

 collection attempts and to reduce her tax liability, Vigil submitted or caused to be

 submitted a packet of documents including a $62,435.95 “Registered Bonded

 Promissory Note” to IRS Revenue Officer T.P. and an IRS Form 56 appointing Timothy

 Geithner, Secretary of the Treasury, as her fiduciary. Mueller certified that she mailed

 these documents to the IRS for Vigil.

        33.     On or about December 7, 2009, in an attempt to thwart legitimate tax

 collection attempts and to reduce N.B.’s tax liability, Pawelski submitted or caused to be

 submitted a packet of documents including a “Registered Bonded Promissory Note” for

 $767,551.15 and an IRS Form 56 naming Timothy Geithner, Secretary of the Treasurer,

 as Pawelski’s fiduciary to the personal residence of IRS Revenue Officer G.W. to settle

 the tax liability of N.B. Vigil certified mailing these documents for Pawelski to G.W.’s

 personal residence.

        34.     On or about February 5, 2010, in an attempt to thwart legitimate tax

 collection attempts, Brokaw signed and submitted or caused to be submitted to IRS

 employee M.G. a “Final Notice of Default and Demand for Payment” in the amount of

 $72,000,000 based on M.G.’s alleged libel of Brokaw. Mueller certified that she mailed

 the Notice of Default for Brokaw and notarized Brokaw’s signature on it.

        35.     On or about March 24, 2010, in an attempt to thwart legitimate tax

 collection attempts, Brokaw, accompanied by Pawelski and Vigil, hand-delivered to the



                                             12
Case No. 1:13-cr-00392-CMA Document 1 filed 09/23/13 USDC Colorado pg 13 of 17




 IRS copies of Notices and Maritime liens against IRS employees M.P. and M.G. The

 lien against M.P. claimed damages, interest, penalties and fees in the amount of

 $1,126,650,000. The lien against M.G. claimed damages, interest, penalties and fees in

 the amount of $2,232,000,000. Mueller notarized Brokaw’s signatures on these liens.

        36.    Between on or about May 2, 2011, and May 16, 2011, in an attempt to

 thwart legitimate tax collection attempts and to reduce his tax liability, Brokaw submitted

 or caused to be submitted a packet of documents to the IRS: 11 IRS payment vouchers

 addressed to him stating the amounts he owed to the IRS, and one life insurance policy

 statement. Brokaw wrote over each of these documents, labeling them as “Money

 Orders” payable to the IRS to be credited to his tax liability. Mueller notarized Brokaw’s

 signature on the letter Brokaw submitted with these documents.

        37.    On or about January 13, 2012, in an attempt to thwart legitimate tax

 collection attempts and to reduce his tax liability, Pawelski submitted a letter to the IRS

 claiming that his tax debts had been discharged by an enclosed, purported EFT

 instrument dated December 5, 2011, in the amount of $132,000 drawn on a closed bank

 account.

        38.    On or about February 24, 2012, in an attempt to thwart legitimate tax

 collection attempts and to reduce her tax liability, Mueller submitted a letter to the IRS

 claiming that her tax debts had been discharged by an enclosed, purported EFT

 instrument dated February 24, 2012, in the amount of $16,489.25 drawn on a closed

 bank account.




                                              13
Case No. 1:13-cr-00392-CMA Document 1 filed 09/23/13 USDC Colorado pg 14 of 17




        39.    On or about March 13, 2012, in an attempt to thwart legitimate tax

 collection attempts and to reduce his tax liability, Brokaw mailed or caused to be mailed

 a letter to the IRS in which he referenced and enclosed earlier filings with the IRS and

 claimed that his tax debts had been discharged by an enclosed, purported EFT

 instrument dated November 20, 2011, in the amount of $522,692.48. This EFT

 instrument was drawn on a closed bank account.

        40.    On or about April 26, 2012, in an attempt to thwart legitimate tax collection

 attempts and to satisfy a civil tax judgment against C.L., Brokaw signed and submitted

 or caused to be submitted to the United States District Court for the District of Colorado

 a purported EFT instrument dated April 26, 2012, in the amount of $5,978,973. This

 EFT instrument was drawn on a closed bank account.

        All in violation of Title 18, United States Code, Section 371.

                                          COUNT 15

                                George Thomas Brokaw
       (26 U.S.C. § 7212(a) -- Corrupt Endeavor to Obstruct or Impede the Due
                    Administration of the Internal Revenue Laws)


        41.    The Grand Jury realleges and incorporates paragraphs 1-2 herein.

        42.    Beginning on or about April 1, 2009, and continuing through on or about

 April 26, 2012, in the State and District of Colorado, Defendant George Thomas Brokaw

 did corruptly endeavor to obstruct and impede the due administration of the Internal

 Revenue laws by attempting to thwart the legitimate collection of taxes owed to the IRS

 by him and others and to reduce his tax liability and the tax liability of others to the IRS,

 by the following means, among others:


                                              14
Case No. 1:13-cr-00392-CMA Document 1 filed 09/23/13 USDC Colorado pg 15 of 17




        43.    Brokaw committed the acts described in paragraphs 25, 26, 27, 28, 29,

 30, 31, 34, 35, 36, 39, and 40, which are realleged and incorporated here.

        All in violation of 26 U.S.C. § 7212(a).

                                         COUNT 16

                                   John J. Pawelski
       (26 U.S.C. § 7212(a) -- Corrupt Endeavor to Obstruct or Impede the Due
                    Administration of the Internal Revenue Laws)


        44.    The Grand Jury realleges and incorporates paragraphs 1-2 herein.

        45.    Beginning on or about March 25, 2008, and continuing through on or

 about January 13, 2012, in the State and District of Colorado, Defendant John J.

 Pawelski did corruptly endeavor to obstruct and impede the due administration of the

 Internal Revenue laws by attempting to thwart the legitimate collection of taxes owed to

 the IRS by him and others and to reduce his tax liability and the tax liability of others to

 the IRS, by the following means, among others:

        46.    Pawelski committed the acts described in paragraphs 24, 25, 26, 27, 28,

 29, 30, 31, 33, 35, and 37, which are realleged and incorporated here.

        All in violation of 26 U.S.C. § 7212(a).

                                         COUNT 17

                                     Mimi M. Vigil
       (26 U.S.C. § 7212(a) -- Corrupt Endeavor to Obstruct or Impede the Due
                    Administration of the Internal Revenue Laws)

        47.    The Grand Jury realleges and incorporates paragraphs 1-2 herein.

        48.    Beginning on or about March 25, 2008, and continuing through on or

 about March 24, 2010, in the State and District of Colorado, Defendant Mimi M. Vigil did


                                              15
Case No. 1:13-cr-00392-CMA Document 1 filed 09/23/13 USDC Colorado pg 16 of 17




 corruptly endeavor to obstruct and impede the due administration of the Internal

 Revenue laws by attempting to thwart the legitimate collection of taxes owed to the IRS

 by her and others and to reduce her tax liability and the tax liability of others to the IRS,

 by the following means, among others:

        49.    Vigil committed the acts described in paragraphs 24, 25, 26, 27, 28, 29,

 30, 32, 33, and 35, which are realleged and incorporated here.

        All in violation of 26 U.S.C. § 7212(a).

                                          COUNT 18

                                    Clara M. Mueller
       (26 U.S.C. § 7212(a) -- Corrupt Endeavor to Obstruct or Impede the Due
                    Administration of the Internal Revenue Laws)

        50.    The Grand Jury realleges and incorporates paragraphs 1-2 herein.

        51.    Beginning on or about April 1, 2009, and continuing through on or about

 February 24, 2012, in the State and District of Colorado, Defendant Clara M. Mueller did

 corruptly endeavor to obstruct and impede the due administration of the Internal

 Revenue laws by attempting to thwart the legitimate collection of taxes owed to the IRS

 by her and others and to reduce her tax liability and the tax liability of others to the IRS,

 by the following means, among others:

        52.    Mueller committed the acts described in paragraphs 25, 27, 28, 29, 30, 32,

 34, 35, 36, and 38, which are realleged and incorporated here.

        All in violation of 26 U.S.C. § 7212(a).




                                              16
Case No. 1:13-cr-00392-CMA Document 1 filed 09/23/13 USDC Colorado pg 17 of 17




       Dated this 23rd day of September, 2013.



                    A TRUE BILL



                    Ink signature on file in the clerk’s office
                    FOREPERSON




 JOHN F. WALSH
 United States Attorney


 By: s/Matthew T. Kirsch_____________
 MATTHEW T. KIRSCH
 MARTHA A. PALUCH
 Assistant United States Attorneys
 1225 Seventeenth Street, Suite 700
 Denver, Colorado 80202
 Telephone: (303) 454-0100
 Facsimile: (303) 454-0404
 E-mail:matthew.kirsch@usdoj.gov
        martha.paluch@usdoj.gov
 Attorneys for the United States




                                            17
